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                      EXHIBIT A
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                            IN THE UNITED STATES DISTRICT COURT FOR
                                THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION



DEMARCUS GENE HUBERT                  §
                                             §
               Plaintiﬀ,                     §
                                             §
vs.                                          §       CIVIL ACTION NO: 4:24-cv-02138
                                             §
WILLIAMS BROTHERS                     §
CONSTRUCTION CO., INC.                       §
                                             §
               Defendant.                    §
                                             §




                       PLAINTIFF DEMARCUS GENE HUBERT
               NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
       TO THE HONORABLE JUDGE OF THIS COURT:

        Comes now Plain�ﬀ, DEMARCUS GENE HUBERT, pro se, pursuant to
Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby gives no�ce to this court and
all par�es, a voluntary dismissal of all claims asserted by it, without prejudice, in the above-
en�tled mater. I also would like to reserve the right to ﬁle in the future. PLEASE TAKE NOTICE
that Plain�ﬀ(s) request, under Federal Rule of Civil Procedure 41(a)(1)(A)(i)(“Rule 41(a)(1)(A)”),
hereby dismisses this ac�on. Under Rule 41 (a)(1)(B), this dismissal is without prejudice.



                                                             ALL RIGHTS RESERVED
                                                             Respec�ully submited,

                                                             /s/ DEMARCUS GENE HUBERT

                                                                    Pro Se

                                                             By:

                                                             DEMARCUS GENE HUBERT
                                                             8214 Lawn St.
                                                             Houston, Texas 77088
                                                             demarcusghubert@gmail.com
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                                IN THE UNITED STATES DISTRICT COURT FOR
                                    THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION



DEMARCUS GENE HUBERT                     §
                                                §
                   Plaintiﬀ,                    §
                                                §
vs.                                             §     CIVIL ACTION NO: 4:24-cv-02138
                                                §
WILLIAMS BROTHERS                        §
CONSTRUCTION CO., INC.                          §
                                                §
                   Defendant.                   §
                                                §




                                      CERTIFICATE OF SERVICE


       I do hereby cer�fy that I have this day served all Par�es of Record in this mater with a
copy of the enclosed VOLUNTARY DISMISSAL WITHOUT PREJUDICE via as follows:

      •   E-MAIL



          This 4th day of October, 2024.



                                                             Respec�ully,

                                                             /s/ DEMARCUS GENE HUBERT

                                                             Plain�ﬀ Pro Se

                                                             By:

                                                             DeMarcus Gene Hubert
                                                             8214 Lawn St.
                                                             Houston, Tx. 77088
